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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                               LAKE CHARLES DIVISION


 ROBERT COLEY, ET AL.                              :           CIVIL ACTION NO. 14-cv-2324


 VERSUS                                            :           JUDGE DONALD E. WALTER


 AEROFRAME SERVICES, LLC, ET AL                    :           MAGISTRATE JUDGE KAY


                                              ORDER


        On July 28, 2021, plaintiffs were ordered to file a Motion for Summary Judgment with

 respect to each plaintiff’s claim for wages, penalties, and attorney fees against Aeroframe Services,

 LLC, and to attach appropriate summary judgment type evidence. Doc. 75. Plaintiffs were invited

 to “adopt the argument made by plaintiffs in Cooley, et al v. Aeroframe Services, LLC, 14-cv-987

 unless this plaintiff has additional reasons for judgment in her favor.” Id.

        On August 13, 2021, plaintiffs filed a Motion for Summary Judgment and attached an

 affidavit setting forth the wages each claimed each was owed and each attached his or her contract

 with counsel where he or she agreed to pay one-third of recovery as a contingency. Doc. 76.

 Plaintiffs also each made a claim for “an additional sum of _____ representing other unpaid wage

 benefits such as purchased vacation, regular earned unused vacation, and paid time off.” Doc. 76,

 atts. 3-16. Each plaintiff inserted an amount into the blank listed in the affidavit. No plaintiff

 totaled his or her claim in his or her request. Defendant Aeroframe Services, LLC, filed an

 opposition adopting its opposition to Cooley, supra. Doc. 79.

        On or before November 12, 2021, plaintiffs are to amend their memorandum in support of

 their motion to set forth the total amount claimed by each. The total amount is to be further broken
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 down by for wages, for penalties, and for attorney fees only. The court will not do any math for

 plaintiffs. The “additional sum” included in the affidavit is unsupported by any documentation

 and was not an item included for the Cooley matters so that we are able to simply refer to our

 ruling there to substantiate that award. We consider the time passed for plaintiffs to make such a

 claim for any “additional sum” and will suggest to the district court the “additional sum” claim be

 denied for each. Plaintiffs will have every opportunity to object to that recommendation at the

 time it is issued.

         THUS DONE AND SIGNED in Chambers this 21st day of October, 2021.
